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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Action No. 19-mj-00074-STV

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1.     KYLE PRESTON CLASBY,

       Defendant.

______________________________________________________________________________

                            ORDER OF DETENTION
______________________________________________________________________________

       THIS MATTER came before me for an identity, preliminary and detention hearing on

March 26, 2019, following the defendant’s arrest on alleged violations of his pretrial release. The

government requested detention in this case. The defendant waived his right to an identity

hearing, and preserved his right to a preliminary hearing. Both sides presented argument on the

issue of detention. I have considered the Pretrial Services Report and the entire docket.

       In order to sustain a motion for detention, the government must establish that there is no

condition or combination of conditions which could be imposed in connection with pretrial release

that would reasonably assure (a) the appearance of the defendant as required or (b) the safety of

any other person or the community.       18 U.S.C. ' 3142(b).      The former element must be

established by a preponderance of the evidence, and the latter requires proof by clear and

convincing evidence.
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       The Bail Reform Act establishes the following factors to be considered in determining

whether there are conditions of release that will reasonably assure the appearance of the defendant

and the safety of the community:

               (1)     The nature and circumstances of the offense charged,
               including whether the offense is a crime of violence, a violation of
               section 1591, a Federal crime of terrorism, or involves a minor
               victim or a controlled substance, firearm, explosive, or destructive
               device;

               (2)     the weight of the evidence against the person;

               (3)     the history and characteristics of the person includingB

                        (A) the person=s character, physical and mental
                        condition, family ties, employment, financial
                        resources, length of residence in the community,
                        community ties, past conduct, history relating to
                        drug and alcohol abuse, criminal history, and record
                        concerning appearance at court proceedings; and

                        (B) whether, at the time of the current offense or
                        arrest, the person was on probation, on parole, or on
                        other release pending trial, sentencing, appeal, or
                        completion of sentence for an offense under Federal,
                        State, or local law; and

               (4) the nature and seriousness of the danger to any person or the
               community that would be posed by the person=s release.

18 U.S.C. ' 3142(g).


       The Bail Reform Act further provides that, with limited exceptions, a court shall detain an

individual pending sentencing unless the judicial officer finds by clear and convincing evidence

that the person is not likely to flee or pose a danger to the community. 18 U.S.C. § 3143(a). The

defendant has pled guilty and the presumption applies. While on supervision, the defendant is

alleged to have been involved in a domestic assault. Responding officers heard the victim

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screaming, and upon entry, observed the victim with a swollen left eye, lump on her forehead, and

bruising and marks on her neck. She told officers that the defendant had dragged her down to the

basement and punched her. The defendant has been charged with several offenses, including

attempted second-degree murder. Based upon these facts, the Court finds that the defendant has

failed to establish by clear and convincing evidence that he is not a danger to the community.

Accordingly,


       IT IS ORDERED that the defendant is committed to the custody of the Attorney General or

his designated representative for confinement in a corrections facility separate, to the extent

practicable, from persons awaiting or serving sentences or being held in custody pending appeal;

and

       IT IS FURTHER ORDERED that the defendant is to be afforded a reasonable opportunity

to consult confidentially with defense counsel; and

       IT IS FURTHER ORDERED that upon order of this Court or on request of an attorney for

the United States, the person in charge of the corrections facility shall deliver defendant to the

United States Marshal for the purpose of an appearance in connection with this proceeding.

DATED: March 26, 2019                                 BY THE COURT:


                                                      s/ Scott T. Varholak
                                                      Scott T. Varholak
                                                      United States Magistrate Judge




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